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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


ENERGY POLICY ADVOCATES,                       )
                                               )
                Plaintiff,                     )
                                               )
v.                                             )      Civil Action No. 22-0298 (TJK)
                                               )
UNITED STATES ENVIRONMENTAL                    )
PROTECTION AGENCY,                             )
                                               )
                Defendant.                     )

                    PLAINTIFF’S RESPONSE TO DEFENDANT’S
                      STATEMENT OF UNDISPUTED FACTS

        NOW COMES Energy Policy Advocates and files this response to the Defendant’s

Statement of Undisputed Facts:

     1. Admitted.

     2. Admitted.

     3. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

        either does not support this conclusion, or does not support it in an admissible

        form (because it appears to be based on hearsay not within a hearsay exemption

        and outside the scope of this Court’s precedents permitting hearsay when such

        hearsay is based on the declarant’s supervision of a search).

     4. Admitted.

     5. Admitted that the referenced correspondence contained the cited language. To the

        extent that the cited language is inconsistent with the evidence, this statement is

        objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

        either does not support this conclusion, or does not support it in an admissible
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   form (because it is outside the personal knowledgeof the Declarant and appears to

   be based on hearsay not within a hearsay exemption and outside the scope of this

   Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search).

6. Admitted

7. Admitted

8. Admitted

9. Admitted

10. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant or

   is based on hearsay not within a hearsay exemption and outside the scope of this

   Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search).

11. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant or

   is based on hearsay not within a hearsay exemption and outside the scope of this

   Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search).

12. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant



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   and appears to be based on hearsay not within a hearsay exemption and outside

   the scope of this Court’s precedents permitting hearsay when such hearsay is

   based on the declarant’s supervision of a search).

13. Admitted that the agency withheld the cited portions of the cited record(s) and did

   so based on the referenced agency assertions. To the extent that this statement

   could be construed to indicate that the agency’s assertions themselves are true,

   Plaintiff objects insofar as this statement is a legal conclusion and not a statement

   of material fact.

14. Admitted.

15. Admitted.

16. Admitted.

17. Admitted.

18. Admitted that the agency withheld the material based on the cited exemption. To

   the extent that this statement could be construed to indicate that the agency’s

   assertions themselves are true or the exemptions apply, Plaintiff objects insofar as

   this statement is a legal conclusion and not a statement of material fact.

19. Admitted.

20. Admitted.

21. Admitted.

22. Admitted.

23. Admitted.

24. Admitted that Slide 3 was withheld. To the extent that the content of the slide is

   discussed, Plaintiff objects pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The



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   cited Declaration either does not support this conclusion, or does not support it in

   an admissible form (because it appears to be outside the personal knowledge of

   the Declarant or appears to be based on hearsay not within a hearsay exemption

   and outside the scope of this Court’s precedents permitting hearsay when such

   hearsay is based on the declarant’s supervision of a search).

25. Admitted that Slide 5 was withheld. To the extent that this paragraph references

   the content of Slide 5, Plaintiff objects for the same reasons set forth above with

   respect to Slide 3.

26. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search).

27. Admitted that Slide 6 was withheld. Except to the extent admitted, Plaintiff

   objects pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant or

   sets forth factual allegations based on hearsay not within a hearsay exemption and

   outside the scope of this Court’s precedents permitting hearsay when such hearsay

   is based on the declarant’s supervision of a search).

28. Admitted that Slide 7 was withheld. Except as admitted, Plaintiff objects for the

   same reasons set forth with respect to Slide 6, above.



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29. Admitted that Slide 8 was withheld. Except as admitted, Plaintiff objects for the

   same reasons set forth with respect to Slide 6, above.

30. Admitted that Slide 9 was withheld. Except as admitted, Plaintiff objects for the

   same reasons set forth with respect to Slide 6, above.

31. Admitted that Slide 10 was withheld. Except as admitted, Plaintiff objects for the

   same reasons set forth with respect to Slide 6, above.

32. Admitted that Slide 11 was withheld. Except as admitted, Plaintiff objects for the

   same reasons set forth with respect to Slide 6, above.

33. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search). Additionally, to the extent that this paragraph

   reflects a legal conclusion rather than a fact, Plaintiff objects on that basis.

34. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search). Additionally, to the extent that this paragraph

   reflects a legal conclusion rather than a fact, Plaintiff objects on that basis.




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35. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search). Additionally, to the extent that this paragraph

   reflects a legal conclusion rather than a fact, Plaintiff objects on that basis.

36. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search). Additionally, to the extent that this paragraph

   reflects a legal conclusion rather than a fact, Plaintiff objects on that basis.

37. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search). Additionally, to the extent that this paragraph

   reflects a legal conclusion rather than a fact, Plaintiff objects on that basis.

38. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible



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   form (because it appears to be outside the personal knowledge of the Declarant

   and/or based on hearsay not within a hearsay exemption and outside the scope of

   this Court’s precedents permitting hearsay when such hearsay is based on the

   declarant’s supervision of a search). Additionally, to the extent that this paragraph

   reflects a legal conclusion rather than a fact, Plaintiff objects on that basis.

39. Objected to pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4). The cited Declaration

   either does not support this conclusion, or does not support it in an admissible

   form (because it appears to be outside the personal knowledge of the Declarant

   and/or is speculative and/or is based on hearsay not within a hearsay exemption

   and outside the scope of this Court’s precedents permitting hearsay when such

   hearsay is based on the declarant’s supervision of a search). Additionally, to the

   extent that this paragraph reflects a legal conclusion rather than a fact, Plaintiff

   objects on that basis.

40. Objected to for the same reasons as set forth in ¶ 39, above.

41. Objected to because this statement appears to be a legal conclusion or legal

   argument rather than a statement of material fact. Furthermore, it is objected to

   pursuant to Fed. R. Civ. P. 56 (c)(2) and (c)(4) because it is speculative, and

   speculation is not admissible.

42. Admitted that the agency made such a determination. Objected to pursuant to Fed.

   R. Civ. P. 56 (c)(2) and (c)(4) insofar as the agency’s determination and its

   accuracy is a legal conclusion and not a statement of material fact.




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Respectfully submitted this the 24th day of February, 2023,

                                                    /s/Matthew D. Hardin
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